






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-08-00623-CV






Rick C. Magana, Appellant


v.


Tiffany Sims, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 200TH JUDICIAL DISTRICT

NO. D-1-FM-04-007702, HONORABLE DERWOOD JOHNSON, JUDGE PRESIDING




M E M O R A N D U M   O P I N I O N



		Rick C. Magana's brief was due on March 30, 2009.  No brief was filed by that date. 
This Court's clerk sent Magana a notice of late brief dated April 14, 2009.  The notice informed
Magana that failure to file a response by April 24, 2009, could result in dismissal of the appeal for
want of prosecution.  To date, Magana has not filed a brief, a motion to extend, or other response. 
This appeal is dismissed for want of prosecution and for Magana's failure to comply with a notice
from the clerk requiring a response within a specified time.  See Tex. R. App. P. 42.3(b), (c).


						                                                                                    

						G. Alan Waldrop, Justice

Before Justices Patterson, Pemberton and Waldrop

Dismissed for Want of Prosecution

Filed:   June 25, 2009


